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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION


UNITED STATES OF AMERICA,                  6:22-PO-5004-KLD
                                           Ticket Numbers: FBJF0078 and FBJF0079
                    Plaintiff,             Location Code: M5
                                           Disposition Code: PE
vs.
                                           JUDGMENT IN A CRIMINAL CASE
ADAM ALBIN,

                    Defendant.


        The Defendant, Adam Albin, was present in court and entered a plea of
guilty to the charges of: DRIVING OFF A DESIGNATED ROUTE and
CUTTING OR OTHERWISE DAMAGING ANY TIMBER, TREE, OR OTHER
FOREST PRODUCT.
        The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
              1. Defendant must pay a fine in the amount of $100.00 plus $40.00 in
fees for DRIVING OFF A DESIGNATED ROUTE and $100.00 plus $40.00 in
fees for CUTTING OR OTHERWISE DAMAGING ANY TIMBER, TREE, OR
OTHER FOREST PRODUCT for a total of $280.00. Defendant must pay by
check or money order payable to U.S. COURTS and mailed to CENTRAL
VIOLATIONS BUREAU, P.O. Box 780549, San Antonio, TX 78278. Defendant
may also pay online at www.cvb.uscourts.gov . The fine shall be paid as follows:
$20 per month starting April 1, 2022, and each month thereafter until paid in
full.
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      Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate Kathleen L. DeSoto. If you appeal, you will be required to
pay a $38 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).


Date of Imposition of Judgment: March 7, 2022.
                                            2.


  3/8/22
____________________                                 ______________________
                                                     ____________  _____________
Date Signed                                          KATHLEEN L.   L DESOTO
                                                     United States Magistrate Judge
